          Case 8:23-cv-01333-FWS-JDE                              Document 63-5                Filed 03/27/25              Page 1 of 1 Page ID
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        M          Gmail                                                                             Jackline Mutlioka <jackiemuthokaB7@gmail.com>



         USMLE Accommodation
        9 messages

        Jackline Muthoka <jackiemuthoka87@gmall.com>                                                                         Mon, Apr 16, 2018 at 9:22 AM
        To: r.henderson@uci.edu

          Hi Rosezetta,
          I hope you are well. I am just checking to see if you heard back from USM LE regarding step 1 accommodation.
           Please let me know,
          Thanks,
          Jackie

          Best,
          Jacktine Muthoka MS2
          UC lrv1ne School of Medicine
          jmuthoka@uci.edu
          7145986400(7143980106


         Rosezetta Henderson <r.henderson@uci.edu>                                                                          Thu, Apr 19, 2018 at 11:50AM
         To: Jackline Muthoka <jackiemuthoka87@gmall.com>

          Ii Jackie,

          I hope all is well with you also.

          I hove not heard back I ca~ cal!lfll.aQaln \Nhen are you taking 117
         .,----                    -
          Best,                                1'
           Rosezetta


           Rosezetta N. Henderson, M.S.
           Senior Disability Specialist
           University of California, Irvine
           100 Disability Services, Bldg 313
           Irvine, CA 92697-5130
           Voice (949) 824-7494 1 Fax (949) 824-3083

           htlp:/lwww.disabfftty.ucl.edu

           Strengths: Learner I Restorative I Arranger I Responsibility I Input


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         jackline muthoka <jackiemuthoka87@gmall.com>                                                                       Thu, Apr 19, 2018 at 12:24 PM
         To: Rosezelta Henderson <r.henderson@ucl.edu>

           I'm taking it on May 3. Please let me know what they say. Thank you
           Jackie

           Best.
           Jackline Mutlxika MS2
           UC Irvine School of Medicine
           jmuthoka@ucl.edu
           7143980106 / 7145986400

           [Ouotod te>ct hidden)

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